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                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON
 1
 2                                                                   May 05, 2022
                                                                         SEAN F. MCAVOY, CLERK

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 5                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,
                                                        No.     1:19-CR-02038-SAB-1
 8                              Plaintiff,
 9          vs.
                                                        ORDER RE: STATUS
10   JORDAN EVERETT STEVENS,
                                                        CONFERENCE
11                              Defendant.
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14         A status conference was held in the above-captioned matter on May 4, 2022 in
15   Yakima, Washington. Virginia Rockwood appeared by video on behalf of Defendant Jordan
16   Everett Stevens, who was present in the courtroom and in custody of the U.S. Marshals.
17   Richard Burson appeared on behalf of the United States of America.
18         At the hearing, remaining defense counsel of record moved to withdraw as counsel
19   for the reasons stated in Defendant’s Memorandum, filed on April 8, 2022. ECF No. 197.
20   The Court granted the motion. A motion and evidentiary hearing on Defendant’s Motion for
21   New Trial, ECF No. 197 was scheduled for June 16, 2022. The Court took the United States’
22   timeliness defense under advisement pending additional briefing from the parties. This
23   Order memorializes the Court’s ruling.
24         Accordingly, IT IS HEREBY ORDERED:
25         1.     Karla Kane of Kane Law PLLC, and Robin Emmans and Ulvar Klein of 2nd
26   Street Law PLLC, are hereby WITHDRAWAN as counsel of record for Defendant. The
27   District Court Clerk is directed to update the case caption accordingly.
28         2.     An evidentiary and motion hearing on Defendant’s Motion for New Trial, ECF
     No. 167, is SET for June 16, 2022 at 1:00 p.m., in Yakima, Washington.
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 1           3.      The United States shall file any response brief regarding timeliness by May 13,
 2   2022.
 3           4.      Defendant shall file any reply brief regarding timeliness by June 1, 2022.
 4           5.      The Court will decide the issue of the timeliness of Defendant’s Motion for
 5   New Trial based on the briefs, unless a request for hearing is made prior to June 1, 2022 by
 6   either party.
 7           IT IS SO ORDERED. The District Court Clerk is directed to file this Order and
 8   provide copies to counsel.
 9           DATED this 5th day of May 2022.
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                                          Stanley A. Bastian
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                                  Chief United States District Judge
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     ORDER RE: STATUS CONFERENCE - 2
